                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

RICHARD KITTS,

      Plaintiff;
                                                            Case No.: ______________
vs.

LIFE INSURANCE COMPANY
OF NORTH AMERICA,

     Defendant.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       COMES NOW the Plaintiff, Richard Kitts (hereinafter “Plaintiff” or “Mr. Kitts”), by and

through his attorneys, and for his Complaint against the Defendant, Life Insurance Company of

North America (hereinafter “Defendant” or “LINA”), states as follows:

                                JURISDICTION AND VENUE

       1.      Jurisdiction of this case is based on the Employee Retirement Income Security Act

of 1974, as amended (“ERISA”); and in particular, without limitation, 29 U.S.C. §§ 1132(e)(1)

and 1132(f). Among other things, those provisions give District Courts the right to hear civil

actions brought to recover benefits and clarify rights under the terms of employee welfare benefit

plans; here, this consists of North American Stamping Group’s Long Term Disability Plan and

corresponding insurance policy (Policy No.: VDT-0962036) (hereinafter the “Plan” and the

“Policy,” respectively); which was (and is) underwritten, administered, and/or managed by LINA

for the benefit of certain employees of North American Stamping Group (hereinafter “NASG”).

In addition, this action may be brought in this Court pursuant to 28 U.S.C. § 1331, which gives

District Courts jurisdiction over actions that arise under the laws of the United States (“federal




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question jurisdiction”).

       2.      The ERISA statute provides, at 29 U.S.C. § 1133, a mechanism for administrative

or internal appeal of benefit denials. These avenues of appeal, i.e., administrative remedies, have

now been exhausted by or on behalf of Plaintiff. See, LINA Incident No.: 10225698-02.

       3.      Venue is proper in the Middle District of Tennessee, pursuant to 29 U.S.C. §

1132(e)(2) and/or 28 U.S.C. § 1391, as NASG is found in the Middle District of Tennessee and a

substantial part of the transactions, events, or occurrences material to Mr. Kitts’ claim for disability

benefits took place there.

                                      RELEVANT PARTIES

       4.      Mr. Kitts lives in Adolphus, Kentucky.

       5.      At all times relevant hereto, Mr. Kitts was an “employee” of NASG, that being his

“employer”; as those two terms are defined in 29 U.S.C. §§ 1002(5) and (6). However, due to his

established disability, he last worked at NASG on or about November 17, 2016.

       6.      At all times relevant hereto, NASG was the Plan Sponsor and Plan Administrator

for the Plan; it was also “plan sponsor,” “administrator,” and/or a “fiduciary” for the Plan, as those

terms are defined by 29 U.S.C. §§ 1002(16) and (21).

       7.      At all times relevant hereto, Defendant was the underwriter, provider of benefits,

plan administrator, claims administrator, claims-review fiduciary, and/or claims fiduciary for the

Plan; alternatively, or in addition, Defendant was an “administrator” and/or a “fiduciary” for the

Plan, as those terms are defined by 29 U.S.C. §§ 1002(16) and (21). Here, it is apparent on the face

of the record that Defendant was/is both ultimate decision-maker (claims administrator, claims-

review fiduciary, claims fiduciary) and payer/funding source of any benefits, and thus it is alleged

that Defendant has a financial conflict of interest/bias that may impact the standard of review used



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by the Court.

       8.        At the times relevant hereto, Defendant LINA acted as agent for the Plan and for

Plan Sponsor/Plan Administrator/Policyholder NASG.

       9.        Under the Plan, NASG delegated or assigned to Defendant LINA the claims-

fiduciary and claims-administrator duties for the Plan and under the Policy; i.e., decision-making

on claims for benefits, decision-making on appeals of denied claims; plus (upon information and

belief) other administrative powers and duties for or under the Plan and the Policy.

       10.       At all times relevant hereto, the Plan constituted an “employee welfare benefit plan”

as defined by 29 U.S.C. § 1002(1); as an incident to his employment, Plaintiff was eligible and

covered under the Plan and thus qualifies as a “participant” as defined by 29 U.S.C. § 1002(7).

       11.       At all times relevant hereto, the Plan/Policy provided generally for payment of

disability benefits if Plaintiff became disabled and unable to work because of injury, illness,

sickness, and/or other covered medical condition as set forth under the Plan/Policy.

       12.      The Plan/Policy provides that an employee is “considered Disabled if, solely because

of Injury or Sickness, he or she is: 1. Unable to perform the material duties of his or her Regular

Occupation; and 2. unable to earn 80% or more of his or her Indexed Earnings from working in

his or her Regular Occupation.” After disability benefits have been payable for 24 months, the

employee is “considered Disabled if, solely due to Injury or Sickness, he or she is: 1. Unable to

perform the material duties of any occupation for which he or she is, or may reasonably become,

qualified based on education, training or experience; and 2. unable to earn 60% or more of his or

her Indexed Earnings.”




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                                    STATEMENT OF FACTS

        13.    Plaintiff realleges and reavers paragraphs 1 through 12 of the Complaint,

incorporating them by reference herein as if specifically restated.

        14.    Mr. Kitts is currently 61 years old (date of birth in June, 1960), and he has only a

high-school level education (GED).

        15.    Mr. Kitts worked for NASG as a Plant Cleaning Associate, earning wages of

approximately $16.50 per hour.

        16.    Owing to his established medical disability, as stated, Mr. Kitts’ last day of work

was on or about November 17, 2016.

        17.    The medical conditions that form the basis for Plaintiff’s disability include, without

limitation, the following: severe degenerative arthritis of the hip, which necessitated a hip

replacement that failed and caused limitations including inability to walk without assistance; as

well as chronic post-surgical pain and other difficulties in his hips, buttocks and thigh(s) radiating

to his feet.

        18.    After he could no longer perform his work for NASG, and based on his employment

there, Mr. Kitts was eligible and applied for short-term disability (“STD”) benefits through LINA.

STD benefits were awarded for the period of time from approximately November 2016 to May

2017.

        19.    After that, his medical condition not having improved, Mr. Kitts was eligible and

applied for LTD benefits, again through LINA. After due appeal by or on behalf of Plaintiff, LINA

ultimately approved Mr. Kitts’ claim for LTD benefits and paid such benefits for the period of

time from May 16, 2017 through April 16, 2021.

        20.    Later, Mr. Kitts was notified by LINA that it would not pay LTD benefits beyond



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April 16, 2021 (see, letter of June 11, 2021).

         21.      Despite due appeal(s) by or on behalf of Plaintiff, LINA has continued to deny any

further LTD benefits. The final denial letter was dated March 11, 2022.

         22.      Any and all applicable insurance-policy premiums required for LTD coverage

under the Plan/Policy have been fully paid or otherwise satisfied.

         23.      Plaintiff has filed or caused to be filed any/all notice(s) and/or proof(s) of claim or

loss that were condition(s) precedent to recovering benefits under the Plan/Policy for the losses

claimed herein.

         24.      Also, Mr. Kitts has been found to qualify for Social Security disability (SSDI)

benefits (*Notice of Award dated 5/3/2018). Evidence of this independent, freestanding

determination by the federal government (Social Security Administration) is part of the

Administrative Record here, and it is persuasive evidence of disability in this case.

         25.      At all times relevant hereto, i.e., at all times for which monetary or other relief is

sought, Plaintiff was “Disabled” or suffering from “Disability” as those terms are defined under

the Plan/Policy; such that certain policy benefits are now due and overdue to be paid. That is, his

claim was and has continued to be amply supported by his treating medical providers, who have

confirmed his continuing inability to work.

         26.      Under any ERISA standard of review that may apply, the position taken by LINA

in denying this claim, viewed against the entire Administrative Record as properly constituted,

cannot withstand judicial scrutiny. The review, analysis, and decision by LINA were wrong, as

well as arbitrary and capricious, under the circumstances presented.1




1
 Plaintiff respectfully reserves all points and arguments regarding what will be the proper standard of review herein,
pursuant to Firestone v. Bruch, 489 U.S. 101 (1989), and its progeny.

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         27.    Further, LINA’s denial of benefits here must be reversed to the extent that Plaintiff

was not afforded a reasonable opportunity for a full and fair review. See, 29 U.S.C. § 1133(2); 29

C.F.R. § 2560.503-1.

         28.    Plaintiff is entitled to past due LTD benefits, as well as any other companion

benefits that were provided under the Plan/Policy during the pertinent time frame. Further, he is

entitled to all future LTD benefits and companion benefits provided by the Plan/Policy, provided

that he otherwise continues to meet all applicable terms and conditions of same.

         29.    Based on the facts summarized above and further proof that can be gleaned from

the record (Administrative Record), if not adduced through any discovery, Plaintiff has suffered a

loss of monies, if not other/additional damages; thus, he alleges the causes of action set forth

below.

                                      CAUSES OF ACTION

                              COUNT I – ERISA/Statutory Claims

         30.    Plaintiff realleges and reavers paragraphs 1 through 29 of the Complaint,

incorporating them by reference herein as if specifically restated.

         31.    Based on the facts summarized above, Plaintiff makes claim under ERISA for the

reinstatement/award of all LTD and related benefits due; past, present and future; pursuant to the

Plan/Policy at issue. That is, this is an action by a plan participant seeking recovery of benefits,

and clarification/declaration of benefits, brought pursuant to 29 U.S.C. §§ 1001, et seq., in

particular 29 U.S.C. § 1132(a); as well as all pertinent implementing regulations and the federal

common law developed in the context of ERISA.

                                     PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff prays for the following relief:



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           A.      That the Court enter judgment in Plaintiff’s favor and against the Defendant;

declaring, determining, clarifying and ordering under ERISA (via 28 U.S.C. §§ 2201, 2202 and

Fed. R. Civ. P. 57, via injunction pursuant to Fed. R. Civ. P. 65, via specific performance, or

otherwise) that Defendant or its designee pay to Plaintiff any and all LTD benefits to which he

was entitled but is still owed; or, alternatively, a dollar amount equal to the contractual amount of

benefits to which Plaintiff was entitled but never paid; or, alternatively, assess concomitant

surcharge(s) under principles of equity;2 each together with interest; and all as recoverable

pursuant to the contractual terms of the Plan/Policy at issue, under ERISA law, and subject to the

proof;

           B.      That the Court enter judgment in Plaintiff’s favor and against the Defendant;

declaring, determining, clarifying and ordering under ERISA (via 28 U.S.C. §§ 2201, 2202 and

Fed. R. Civ. P. 57, via injunction pursuant to Fed. R. Civ. P. 65, via specific performance, or

otherwise) that Defendant or its designee pay to Plaintiff all LTD benefits to which he is or will

be entitled in the future pursuant to the contractual terms of the Plan/Policy at issue; subject to the

proof and policy application procedures, as required; and so long as he otherwise continues to meet

all applicable terms and conditions of the Plan/Policy;

           C.      That the Court award to Plaintiff his attorney’s fees and costs of action pursuant to

ERISA. See, 29 U.S.C. § 1132(g);

           D.      That the Plaintiff recover any and all other, different or additional damages,

expenses, costs and relief (legal, equitable, declaratory or remedial) to which he may be entitled

by virtue of the facts and cause(s) of action alleged above, consistent with the ERISA statute and

regulations, the federal common law developed in the context of ERISA, and the interests of equity



2
    See, CIGNA Corp. v. Amara, 563 U.S. 421, 440-445 (2011).

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and justice; including without limitation any applicable or accrued cost-of-living adjustments

(“COLAs”); any provision for waiver of, continuation of payment of, or reimbursement of,

premiums on health and dental insurance; any provision for waiver of, continuation of payment

of, or reimbursement of, premiums on life insurance (life waiver of premium); and any provision

for continued payments/contributions to employer-sponsored pension or retirement plan(s) (if and

as any/all of those items may be provided under the Plan/Policy in force); plus pre-judgment

interest3 and post-judgment interest4 on all amounts awarded or to be awarded;

           E.       That the Court order under ERISA (via 28 U.S.C. §§ 2201, 2202 and Fed. R. Civ.

P. 57, via injunction pursuant to Fed. R. Civ. P. 65, via specific performance, or otherwise) that

the Defendant or its designee render and provide a full and accurate accounting of all dollar figures

and computations for Plaintiff’s LTD benefits to be paid; in sufficient detail so that Plaintiff may

ascertain that his benefits are paid in the proper amounts; and to include any putative offset

amounts that might reduce the amount of benefits otherwise paid;

           F.       That Plaintiff be awarded such additional or other relief as may be appropriate and

just; and

           G.       Plaintiff reserves the right, if appropriate, pursuant to Fed. R. Civ. P. 15 or

otherwise to amend/supplement this lawsuit and the Prayer for Relief based on additional

fact/circumstances not now reasonably apparent, or to be revealed in discovery conducted herein;

and/or to add any party-defendant(s) necessary to afford complete relief to Plaintiff.

           Dated this 19th day of May, 2022.




3
 See, Curtis v. Hartford Life & Accident Ins. Co., 64 F. Supp. 3d 1198, 1224 (N.D. Ill. 2014) (presumption in favor
of prejudgment interest is specifically applicable in ERISA cases).
4
    See, 28 U.S.C. § 1961.

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                              Respectfully Submitted,

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